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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION
                                      CHICAGO


 MICHAEL MCNULTY,                       )
                                        )             Case No. 1:19-cv-7496-JZL
          Plaintiff,                    )
                                        )
          v.                            )
                                        )
 INTERNAL REVENUE SERVICE,              )
                                        )
          Defendant.                    )
 _______________________________________)

                                            ORDER

       This matter is before the Court on the motion of the Defendant, the Internal Revenue

Service, to dismiss or, in the alternative, for summary judgment. The Court finds that the

Plaintiff, Michael McNulty, has failed to exhaust his administrative remedies. Accordingly, and

the Court being sufficiently advised, the Defendants’ motion is GRANTED and the Plaintiffs’

Complaint is DISMISSED WITH PREJUDICE.



       This the ___________ day of _________________, 2020.




                                                    ____________________________________
                                                    Hon. John Z. Lee
                                                    United States District Judge
                                                    Northern District of Illinois
